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                                                               United States District Court
                                                                 Southern District of Texas

                                                                    ENTERED
                                                                    May 08, 2018
                                                                 David J. Bradley, Clerk
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